  Case 1:19-cv-00022-CFC Document 3 Filed 02/11/19 Page 1 of 1 PageID #: 21


                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE
 JORDAN ROSENBLATT, Individually and              )
 On Behalf of All Others Similarly Situated,      )
                                                  )
                        Plaintiff,                )   Case No. 1:19-cv-00022-CFC
                                                  )
        v.                                        )   CLASS ACTION
                                                  )
 WILDHORSE RESOURCE                               )   JURY TRIAL DEMANDED
 DEVELOPMENT CORPORATION,                         )
 ANTHONY BAHR, BRIAN A. BERNASEK,                 )
 JONATHAN M. CLARKSON, SCOTT                      )
 GIESELMAN, JAY C. GRAHAM, DAVID                  )
 W. HAYES, STEPHANIE C.                           )
 HILDEBRANDT, GRANT E. SIMS,                      )
 MARTIN W. SUMNER, TONY R. WEBER,                 )
 CHESAPEAKE ENERGY CORPORATION,                   )
 and COLEBURN INC.,                               )
                                                  )
                        Defendants.               )

                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff Jordan

Rosenblatt (“Plaintiff”) hereby voluntarily dismisses the above-captioned action (the “Action”)

without prejudice. Defendants have filed neither an answer nor a motion for summary judgment

in the Action, and no class has been certified.

 Dated: February 11, 2019                         RIGRODSKY & LONG, P.A.

                                             By: /s/ Brian D. Long
                                                 Brian D. Long (#4347)
 OF COUNSEL:                                     Gina M. Serra (#5387)
 RM LAW, P.C.                                    300 Delaware Avenue, Suite 1220
 Richard A. Maniskas                             Wilmington, DE 19801
 1055 Westlakes Drive, Suite 300                 Telephone: (302) 295-5310
 Berwyn, PA 19312                                Facsimile: (302) 654-7530
 Telephone: (484) 324-6800                       Email: bdl@rl-legal.com
 Facsimile: (484) 631-1305                       Email:gms@rl-legal.com
 Email: rm@maniskas.com
                                                  Attorneys for Plaintiff
